                Case 17-13179-amc                 Doc      Filed 04/30/24 Entered 04/30/24 09:29:17                             Desc Main
                                                           Document      Page 1 of 4
Fill in this information to identify the case:

Debtor 1 Christopher R Smialowski

Debtor 2 Michelle Smialowski
(Spouse, if filing)


United States Bankruptcy Court for the: EASTERN                    District of PENNSYLVANIA
                                                                            (State)

Case number 17-13179-amc



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtors’ plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtors’
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtors’ principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               U.S. Bank Trust National Association, Not         Court claim no. (if known)           6
                                In Its Individual Capacity, But Solely As
                                Trustee Of LSF10 Master Participation
                                Trust

Last four digits of any number you                 XXXXXX0347
use to identify the debtors’ account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
  $ No
  $ Yes. Date of the last notice: September 22, 2023

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                    Dates incurred                                   Amount

1.      Late charges                                                                                                             (1)    $           0.00
2.      Non-sufficient funds (NSF) fees                                                                                          (2)    $           0.00
3.      Attorney fees                                                                                                            (3)    $           0.00
4.      Filing fees and court costs                                                                                              (4)    $           0.00
5.      Bankruptcy/Proof of claim fees                                                                                           (5)    $           0.00
6.      Appraisal/Broker's price opinion fees                                                                                    (6)    $           0.00
7.      Property inspection fees                                                                                                 (7)    $           0.00
8.      Tax advances (non-escrow)                                                      11/17/2023                                (8)    $        2,048.67
9.      Insurance advances (non-escrow)                                                                                          (9)    $           0.00

10. Property preservation expenses. Specify:          _____________                                                              (10)   $           0.00



The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 1
           Case 17-13179-amc                         Doc       Filed 04/30/24 Entered 04/30/24 09:29:17                               Desc Main
                                                               Document      Page 2 of 4
Debtor 1        Christopher R Smialowski                                            Case number (if known)      17-13179-amc
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

$ I am the creditor.
$ I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

                 /s/Kinnera Bhoopal                                                                     Date       04/26/2024
                 Signature

Print:           Kinnera                                                  Bhoopal                       Title      Authorized Agent
                 First Name                   Middle Name                 Last Name

Company          McCalla Raymer Leibert Pierce, LLC

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                              GA                   30076
                 City                                 State                ZIP Code

Contact phone           (312) 348-9088 X5172                                   Email        Kinnera.Bhoopal@mccalla.com




Official Form 410S2                                  Notice of Postpetition Mortgage Fees, Expenses, and Charges                             page 2
BCase    17-13179-amc
 10 (Supplement 2) (12/11)             Doc        Filed 04/30/24
                                                              Case: Entered 04/30/24 09:29:17                             Desc Main
                                                                                                                                Page 3
                                                  Document        Page 3 of 4
                              UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                                                   )
                                                                         )      Case No. 17-13179-amc
Christopher R Smialowski                                                 )      Chapter 13
Michelle Smialowski                                                      )
                                                                         )      JUDGE: Ashely M. Chan


                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM
Tax Advances (non-Escrow)                                                                                                      $2,048.67

             11/17/2023                                         Property Taxes Advanced                            $2,048.67




$ TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                              $2,048.67

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
BCase    17-13179-amc
 10 (Supplement 2) (12/11)    Doc     Filed 04/30/24
                                                  Case: Entered 04/30/24 09:29:17             Desc Main
                                                                                                    Page 4
                                      Document        Page 4 of 4



                                                           Bankruptcy Case No.:     17-13179-amc
 In Re:                                                    Chapter:                 13
           Christopher R Smialowski                        Judge:                   Ashely M. Chan
           Michelle Smialowski

                                       CERTIFICATE OF SERVICE

      I, Kinnera Bhoopal, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell,
GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF POSTPETITION
MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy matter on the following
parties at the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Christopher R Smialowski
3013 Belgrade Street
Philadelphia, PA 19134

Michelle Smialowski
3013 Belgrade Street
Philadelphia, PA 19134

Michael I. Assad                                                   (Served via ECF at help@cibiklaw.com)
Cibik Law, P.C.
1500 Walnut St Ste 900
Philadelphia, PA 19102

Kenneth E. West                                               (Served via at ecfemails@ph13trustee.com)
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
19107, PA 19107

United States Trustee                                     (Served via at ecfemails@ph13trustee.com)
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:        04/30/2024        By:     /s/Kinnera Bhoopal
                      (date)                  Kinnera Bhoopal
                                              Authorized Agent for U.S. Bank Trust National
                                              Association, Not In Its Individual Capacity, But Solely As
                                              Trustee Of LSF10 Master Participation Trust
